Case 1-17-43007-€88 Doc 42 Filed 10/22/18 Entered 10/22/18 `15:23:30

Edward J. Waters, Esq.

Aftorneysfor the Debtor

3124 Avalon Drive West

NeW Cannan, CT 068-49

Tel. 914-686-43()0

ejwaters@grnail.coni
Presentment I)atc: November 20, 2018
Time: 9:30 AM

UNITED STATES BANKRUPTCY C()URT
EASTERN DISTRICT OF NEW YORK
-- x
IN RE: Chapter 13
Case No. 17-43007-ESS

 

ANGELA COVE

Debtor(s)

 

NOTICE OF PRESENTMENT AND ()PP()R'I`UNITY FOR HEARING

PLEASE TAKE NOTICE, that an Order, a true copy of Which is annexed hereto, will
be presented for signature to the Hon. Elizabeth S. Stong, United States Bankruptcy Judge, on
the 20th Day of November 2018 at 9:30 A.M, at the United States Banl<ruptcy Court, 271»€
Cadrnan Plaza East, Courtroom 3585 Brooklyn, NY 11201.

PLEASE TAKE FURTHER NO'I`ICE, that unless written objections to the proposed
Order With proof of service are tiled With the Clerk of the Court, and courtesy copies delivered to
the Bankruptcy ludge’s Chambers, at least three (3) days before the date of presentment, there
Will not be a hearing and the Order may be signed on default

PLEASE TAKE FURTHER NOTICE that if a written objection is timely filed, the
Court Will notify the moving and objecting parties of the date and time of the hearing ”l`he
moving and objecting parties are required to attend said hearing and failure to attend in person or

by counsel may result in relief being granted or denied on default

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Dated: October 22, 2018

TO:

Queens, NY

Ofiice of the United States Trustee
US Federal Oftice Building

201 Varick Street, Suite 1006
New Yorl<, NY 10014

Marianne DeRosa

Standing Chapter 13 Trustee
125 Jericho Tpke

Suite 105

Jericho, NY 11753

Cohn & Roth, LLC

Aflor'neysfor Ca.!ibe)" Home Loan
100 East Old Country Road
Mineola, New York 1 1501

Arnex
Po Box 297871
Fort Lauderdale, FL 33329

Bank of America
Nc4-105~03~14

Po Box 26012
Greensboro, NC 27410

Citibank

Citicorp Cr Srvs/Centralized Bankruptcy
Po Box 790040

S Louis, l\/IO 63129

/s/ Edward .!. Waters, Esq.

 

Edward J. Waters, Esq.
Arlorneysfor the Debror
3124 Avalon Drive West
New Cannan, CT 06849
Tel. 914-686-4300
ejwaters@gmail.eom

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Dept Of Ed/Navient
Attn: Claiins Dept
P.O. Box 9635

Wilkes Barr, PA 18773

Discover Financial
Po Box 3025
New Aibany, OH 43054

FCl Lender Services INC
P.O Box 27370
Anaheiln, CA 92809

HSBC Bank
P.O. Box 2013
Buffalo, NY 14240

Lending Club Corp

71 Stevenson St

Suite 300

San Francisco, CA 94105

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UNITED STA'I`ES BANKRUPTCY C()URT
EASTERN I)ISTRICT OF NEW YORK

 

x
IN RE: Chapter 13

Case No. 17-43007-ESS
ANGELA COVE

Debtor(s)

__________ ..,... .... ____..... ..._...... _._....._.X

 

AFFIRMATI()N IN SUPPORT OF DEBTORS’ APPLICATION F()R AN ORDER
APPROVING LOAN MO])IFICATION WITH CALIBER HOME LOAN
The Debtor, Angela Cove, by her attorney Edward J. Waters, Esq. makes this motion
pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure to approve a mortgage
modificationl
1. This case Was filed on June 8, 2017 for reiief under chapter 13 of Titie 11 of the
United States Bankruptcy Code.
2. Caliber Honre Loan is a secured creditor in the instant bankruptcy proceeding
Caliber Home Loan holds a perfected security interest (moitgage) on Debtor’s real
property, located at 9517’ 116th Street, South Richmond Hill, NY 11419.
3. Debtor and Caliber Home Loan have worked together to reach an agreeable loan
modification plan.
4. Ms. Angela Cove received a loan modification offer on May 10, 2018. Per the offer,
she bad to start making the modified payment beginning June 2018.
5. However, Angela Cove could only accept the offer in Septernber 2018 because the
loan modification documents Were generated in the name of Angela Cove’s ex-

husband, Williarn Cove’s name. As per Caliber Home Loan’s requirement, to accept

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the offer, Angela Cove had to record the deed in her name based on a divorce decree.
The Whole recording process took 4~5 months During this period Angela Cove could
not make the payment under the modification agreement I~“Iowever, she Was making
her monthly payment to the Chapter 13 Trustee under the Chapter 13 Plan.

6. On September 18, 2018, the Debtor and Caliber Home Loan could enter into the final
modification agreement A copy of the final modification agreement is attached
hereto as Exhibit A.

7. The terms of the agreement are as follows:

0 Modified Unpaid Principal Balance: $463,991.10
0 Modified Interest Rate is Step Interest Rate as follows
- 1~5 years - 2.50%

6=“ Y@ar ~ 3.50%

7§]‘ Year - 4.50%

sit Year - 5.50%

9‘]‘ Year ~ Maturity ~ 6.125%
Modified Monthly Principal and Interest Payment: $1,530.14
Monthly Escrow Payrnent (Taxes and lnsurance): $605.60
Totai Modified I\/Ionthly Payment: $2,135.74
First l\/lodification Paynient Date: 6/1/2018
Maturity Date: 5/1/2058 The approval of this final modification agreement
Wiil have no adverse impact on Debtor’s creditors

8. As mentioned above, While completing the formalities to accept the loan modification
agreement, the Debtor could not make the modified mortgage payment beginning
June 20l8 through October 2018. Therefore, there is a balance of $10,6?8.70
($2,135.74 x 6 months) to finalize this modification agreement

9. The Court is kindly requested to direct the Trustee to release the funds in the amount
of 312,814.44 ($2,135.74 x 6 months) to cover the mortgage payment beginning Junc

2018 through November 2018 under the modification agreement

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WHEREF()RE, the Debtor respectfully requests that the Court grant the motion to
approve the loan modification With Caliber Home Loan, allow the Trustee to release the funds to
cover the mortgage payment beginning June 2018 through November 2018 and for such other

and further relief as this Court may deem just and proper.

Dated: October 22, 2018
Queens, NY

/s/ devard J. Waters, Esq.

 

Edvvard J. Waters, Esq.
Altorneysfor the Del)tor
3124 Avalon Drive West
New Cannan, CT 06849
Tel. 914-686-4300
ejvvaters@gmail.com

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Ol(lahol'na Cily. OK 73124~0610
,‘_ HOME i_C>Ai\iss

5/8/2018

Wll_LlAM .l COVE SR

C/O RASHi\/ll A'l"l'Rl

89-36 SUTPH|N BLVD STE 301-304
JAMA|CA, NY 11435~0000

9804254598

118-82 METROPOL}TAN AVE

KEVV GARDENS, NY11415
DearWll_LlAl`\/l J COVE SR 1

GREAT NEWS from Caliber l~lome l_oaris! Caliber has reviewed your account and determined that you qualify for a loan
modification |f you decide to accept the enclosed loan modification offerl you can expect the following exciting changes to
your |oan:*
Current l\/lonthty Mortgage Payment: $2,240.19
Proposed Nlorithly Payment: $2,135.74*

You already qualify for this offer, so accepting is easyl Carefully read and follow these two simple steps:

1. Review the enclosed Loari li/lodilication Agreement and if you agree to the terms and conditions, then:
a_ Have all original borrowers sign and date the agreement in front of a witness
b. Have the witness also sign where noted (this is very important; we may delay the final processing of
the modification if this is missing).
c. Borrower(s} must be in the presence of a notary the same day the documents are signed and dated
{if required).
2. Using the enclosed prepaid envelope, return to us:

Original signed Loan l\llodification Agreernent (make a copy for your records).

Note that all proposed payments include taxes and insurance, regardless of your prior payment arrangementl This is a
limited time ofier, so you must return the signed l_oan Nlodification Agreement to Caliber at: Caliber l-lome Loans, lnc.
Attn: Loss Mitigation Nlodification, 13801 eretess Way, Oklahoma City, OK 73134 by no later than 5/31/2018.

Caliber remains committed to working With our borrowersl so please contact us with any questions or to discuss other potential
alternativesl Our modification specialists are available to help you with any questions lV|onday through Friday. 8:00 Al\/l - 7100
PNl Central Time at 1-800-401-6589.

SPOC Department
Caliber l-iome Loaris, lnc.

* New monthly payment will be accomplished through a capitalization of outstanding balances and/or an extension of the maturity date as set
forth in the Nlodification Agreement. Borrower(s) is informed that forgiveness of principal may have adverse credit and legal consequences and
may result in taxable income to Borrower(s).

TH|S |S AN ATTEMPT BY A DEBT COLLECTOR TO COLLECT A DEBT AND ANY INFORMA'FION OBTAINED W|Ll. BE USED FOR THAT
PURPOSE. Notice to Corisumers presently ln Bankruptcy or who have a Bankruptcy Discharge: if you are a debtor presently subject to
a proceeding in Bankruptcy Court, or if you have previously been discharged from this debt by a Federa| Banl<ruptcy Coun, this communication
is not an attempt to collect a debt but is sent for informational purposes only or lo satisfy certain Federal or State legal obligations

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This document was prepared by: Caliber Home l.oans lnc.

[Space Reserved for Recording tnformation]

LOAN MODlFlCATlON AGREEMENT - 5 YEAR WlTH STEP

To the Borrower: This Agreement contains changes in terms which affect your Loan secured by
the Property identified beiow. This is a legal obligation and you should read and understand the
terms of this Agreement before you sign it.

This Agreement (the “Agreernent”) is dated as of 518/2018 but effective as of the Modification
Effective Date defined herein, by and between WlLLlAM J COVE SR (col|ectiveiy, the “Borrower”
or "you”) and Caliber Home Loans, |nc. (the “Servicer"), on behalf of the current owner of your loan
(the “l.ender”).

REC|TALS;

A. Borrower has a mortgage loan, account number 9804254598 (the “i_oan”). This loan is secured
by property commonly referred to as 118-82 METROPOL|TAN A\/E KEW GARDENS, i\lY
11415 (the “Property"). The iegai description to the Property may be attached to this
Agreement if required

B. Borrower signed the following documents in connection with the i_oan;
. Note dated 1/16/2003 in the original amount of $312,000.00 (the "Note").

~ |Viortgage, Seourity Deed, or Deed of Trust on the Property, recorded in real property
records of QUEENS County, N\’ (the "Security lnstrument"). with an original stated
maturity date of 211/2033.

~ The Note and the Security lnstrument, together with ali documents executed in rotation
to the Note and the Security instrumentl and in addition to any loan modification
previously entered into by Borrower, are called the “Loan Documents”.

C. Borrower and Servicer want to modify the terms of the Note and Security instrument

in consideration or the foregoing Recitals and the terms. conditions representations and warrantiesl and
mutuai covenants and agreements herein, and for good and vaiuable considerationf the receipt and
sufficiency of which are hereby ac|<nowiedgedl Borrower and Servicer (co||ectively, the “Parties”), mutually
agree as follows:

1. Conditions to Effectiveness of Agreement.

a. This Agreement wilt only be effective after Borrower signs and returns a signed original of
this Agreernent to Servicer on or before 5/31/2018.

b. Lender will not be obligated or bound to make any modification ofthe L.oan Docurnents ifthe
Borrower fails to meet any of the requirements under this Agreernent.

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2. l\liodification of the Loan Documents

if the conditions of this Agreement are satisfied, then the i..oan is modified as foilows:

3.

i\/lodification Period; The payments on your loan wiil be modified from the effective date of
the modificationl which will be 511/2018 (the "Moclification Effective Date”). You will pay the
initial modified amount from the Nlodification Efiective date until 5/1/2023 (“|nitiai Nlodification
Period"). At the end of the initial iV|odification Period, and beginning at Year 6, your interest
rate and corresponding monthly principal and interest payment wili increase in accordance
with the table below until 5/1/2026, when your interest rate Will remain fixed for the balance of
the term of your l_oan.

Term Extension: The term of the Note has been extended and the new maturity date of the
i_oan will be 5/1/2058.

i\!|odified Principal Ba|ance: On the N|odification Effective Date, the unpaid principal balance
payable under the Note is $463,991.10 (the “l\/lodified Unpaid Principai Balance"). This amount
consists of $277,531.29 remaining due under the original terms of the Notel plus some or ali
other unpaid amounts that are capitalized into the modified l_oan (the “Capitaiized Amounts").

Borrower understands that by agreeing to add the Capitalized Amounts, including unpaid
interest, to the outstanding baiance, those amounts accrue interest based on the terms of this
Agreement. Borrower further understands that the Capitalized Amounts would not accrue
interest without this Agreement.

N|odified l\/lonthly Payment Amount: You promise to make modified monthly payments in an
amount set forth in the table below beginning on the First lviodification Payment Date and
ending on the |`vlaturity Date. `l`he total modified monthly payment amount may inciude modified
monthly principal and interest paymentsl any monthly escrow payments (to the extent Servicer
wiil pay escrowed amounts), and monthiy payments for Ancillary Amounts, as identified beiow.

Nlodified interest Rate: interest will be charged on the i\/iodified Unpaid Principal Balance at a
rate of 2.50% (the “Nloo|ified interest Rate") beginning on the |Vlodification Effective Date. You
will make modified montth principal and interest payments based on this Niodified interest
Rate as applied to the l\f|odified Unpaid Principal Ba|ance beginning on the First Nlodification
Payment Date and ending at the end of the initial N|odlfication Period.

interest Calcuiation'. if your loan documents call for interest to be calculated using daily simpie
interest, or DSi, this Agreement permanently modifies your Loan so that interest is calculated
on a monthly basis, also known as interest in arrears.

 

 

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Summarv of the initial Niodiiication Period Payments:

Modified Unpaid Principa| Balance: $463.991.10
Nlodified interest Rate: 2.50%

Niodified l\/lonthly Principal and interest Payment: $1,530.14
iVionthly Escrow Payment (Taxes and lnsurance)*: $605.60

Total Modified Month|y Payment: $2,135.74

First Modification Payment Date: till/2018
Maturity Date: 5/1!2058

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Vears interest interest Monthiv P+l Estimatecl Totai Payment Start Number of
Rate Rate Payment Monthly illionthiy Date Payments
Change Escrow Payment
Date Payment
Amount*
1~5 2.50% 511/2018 $1.530.14 $605.60 $2,135.74 6!1!2018 60
Nlay adjust lvlay adjust
periodically periodically
6 3.50% tilt/2023 $1.768.96 Niay adjust May adjust 6/1/2023 12
periodically periodically
7 4.50% 5/1/2024 $2,019.89 |Viay adjust hitay adjust 6/1/2024 12
periodically periodically
8 5.50% 5/1/2025 $2.281.00 |Vlay adjust t\iiay adjust till/2025 12
periodically periodically
Q-Maturity 6.125% 5/1/2026 $2.447.95 iViay adjust Nlay ad;`ust bfi/2026 384
periodically periodically

 

 

 

 

 

 

 

 

* Your i\/|onth|y Escrow Payment is an amount calculated in accordance with the
Loan Documents and Federal and State iaw. This amount may change from time
to time if escrow items (taxes and insurance) increase or decrease._

3. Events of Defauit. A default under the terms of this Agreernent constitutes a default under the
terms of the l.oan Docurnents. All the rights and remedies stipulations and conditions contained
in the i_oan Documents relating to default in the making of payments under the Loan Documents
shall also apply to default in the making of the modified payments hereunder.

4. Additional Covenants and Agreements.

The Parties further agree to and acknowledge each of the foiiowing:

A.

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Ai| persons who signed the Loan Documents must sign this Agreement in person or by an
authorized representative, uniess (i) a borrower or co-borrower is deceased; (ii) the borrower
and co-borrower are divorced and the property has been transferred to one spouse in the
divorce decree, the spouse who no longer has an interest in the property need not sign this
Agreement (although the non»signing spouse may continue to be held liable for the obligation
under the i_oan Documents); or (iii) Servicer has waived this requirement in writing. Borrower,
by signing this Agreement, will be presumed to have read this Agreement and understand the
terms of this Agreernent.

This Agreernent supersedes the terms of any modificationl forbearance, trial period pian or
other workout plan that Borrower may have or have had in the past with Servicer or any prior
servicer.

Except as specifically modified by this Agreement, the terms of the Loan Documents remain in
full force and effect. and are duly valid, binding agreements enforceable in accordance with

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their terms. This Agreement does not replace or release any terms in the Loan Documents,
except as specifically modified by this Agreement. |\iothing in this Agreement shall be
understood or construed to be a satisfaction or release in whole or in part of the obligations
contained in the Loan Documents

Borrower may not assign\ and no person may assume, Borrower's rights under this Agreement
or the t.oan Documents without the prior written consent of the Servicer.

if all or any part ci the Property or any interest in the Property is sold or transferred (or it
Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred)
without Lender’s prior written consent, l_ender may require immediate payment in full of all
sums secured by the Security instrument

lf l_ender exercises this option, l_ender shall give Borrower notice of acceleration The notice
shall provide a period ot not less than 30 days from the date the notice is delivered or mailed
within which Borrower must pay all sums secured by the Security instrument if Borrower fails
to pay these sums prior to the expiration of this period, l_ender may invoke any remedies
permitted by the Security instrument without further notice or demand on Borrower.

if Servicer makes advances for payment of taxes or insurance, accrues interest, or posts late
or other fees or expenses to the Loan, each of which is permissible under the Loan Documents
to add to amounts outstanding under the Note, between the date Servicer generates this
Agreement and the date this Agreement is processed, then these amounts will either become
Deferred Amounts under the Loan Documents, or will be offset with a portion of Good Faith
funds, ii applicable Any addition ot Deferred Amounts or offset of advances pursuant to this
section will be reflected on Borrower’s periodic statementl

Deferred amounts dc not accrue interest The Deferred Amounts will be due at the earlier of
payment in full of the Note, acceleration or the iiilaturity Date. lf you sell the Property or
refinance the Loan, you will be required to pay this Deferred Arnount in addition to any other
amounts due at that time. Otherwise, these amounts are due on the l\/|aturity Date and are
required to he paid at or before that time. This means that if you make all the payments required
by this Agreement, you will still owe the Deferred Amount to the Servicer. The Deferred Amount
may result in a significantly higher monthly payment on the lVlaturity Date.

Borrower will execute such other documents or papers as may be reasonably necessary or
required to either (i) consummate the terms and conditions of this Agreement, or (ii) correct the
terms and conditions of this Agreement it an error is detected after execution of this
Agreement. Borrower understands that either a corrected Agreement or a letter agreement
containing the correction will be provided to Borrower for Borrower's signature At the option of
the Lenderl if Borrower elects not to sign any such corrective documentation, the terms of the
operative Loan Documents will continue in full force and effect, and such terms will not be
modined by this Agreement.

This Agreement constitutes notice that any waiver by Servicer as to payment of taxesl
insurance and other escrow items has been revoked Borrower agrees and understands that
Borrower will be required to pay certain escrow amounts as required by Servicer in accordance
with applicable F-'ederal and state law.

To the extent Servicer may deem it necessary, Borrower will cooperate with Servicer to the
extent any filing or action is required in Borrower's Banl<ruptcy Case in order to (a) obtain
approval of this agreement (b) modify Borrower’s bankruptcy plan (it Borrower is in a Chapter
13 bankruptcy) or (c) amend the proof of claim filed by Servicer with respect to this debt. lt you
are presently subject to a proceeding in Bankruptcy Court, the terms of this Agreement may be
subject to Court approval in your jurisdictionl if Court approval is required in your jurisdiction,

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and the Court denies this Agreement, your Loan will revert to the terms in effect immediately
prior to this it>igreementl and will remain in full force and effect.

5. No Waiver.

Except as specifically provided herein, the Security instrument shall remain unaltered and in full
force and effect and is hereby ratified and confirmed by the Parties hereto. This Agreement shall
not constitute a novation of the Security lnstrument. The executionl delivery and effectiveness of
this Agreement shall not, except as expressly provided herein, operate as a waiver of any right,
power or remedy of any party under the Security instrument

TH|S COMMUN|CAT|ON lS AN ATTEMPT TO COL.LECT A DEBT. ANY tNFORMAT|ON OBTAlNED
WlLL BE USED FOR THAT PURPOSE.

Notice to Consumers presently in Bankruptcy or who have a Bankruptcy Discharge: if you are a
debtor presently subject to a proceeding in Bankruptcy Court, or if you have previously been
discharged from this debt by a Federal Banl<ruptcy Court, this communication is not an attempt to
collect a debt but is sent for informational purposes only or to satisfy certain Federai or State legal
obligations

in Witness Whereof, Servicer and Borrower have executed this Modification Agreement as of the dates
indicated below.

BY SiGNii\lG Bl“:“l_OV\/, Borrower accepts and agrees to the terms and covenants contained in this
Agreement:

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WiE.LiA|Vi J COVE SR

 

Address

Date:

 

 

 

Address

Date:

 

 

 

Address

Date:

 

 

Account Numioer: 9804254598

 

Caliber Home Loans, inc.

By:

 

Date:

P_w_i_T
nEv(04/16)

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Witness Signature

 

Printed Witness Narne

 

Witness Signature

 

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Witness Signature

 

Printed Witness Nai'ne

 

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State of

County of

On the day of in the year before me, the undersigned, a Notary
Pubiic in and for the said state, personally appeared

, personally known to me or proved to me
on the basis of satisfactory evidence to be the individuai(s) whose name(s) is (are) subscribed to
the within instrument and acknowledged to me that he/she/they executed the same in
his/her/their capacity(ies), and that by his/her/their signature(s) on the instrument, the
individua|(s), or the person upon behalf of which the individuai($) acted, executed the
instrument

Notary Signature:

 

Printed Name:

 

Borrower(s} and notary must sign all documents on the same day. Borrower{s) cannot sign

any other documents prior or after the notary date. (Revised 8/27/14)

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UNITED STATES BANKRUPTCY C()URT

EASTERN DISTRICT OF NEW Y()RK

X

IN RE: Chapter 13
Case No. 17-43007

 

ANGELA COVE

Debtor(s)
_____________________________________________________ X

PROP()SED {)RDER GRANTING DEBT()R’S
APPLICATION FOR APPROVING LOAN MODIFICATION

Upon the motion of the above Debtor, Angeia Cove (the “Debtor”), by notice of
presentment dated October 22, 2018, seeking an Order to Approve Loan Moditication between
Debtor and Creditor Caliber Home Loan; and, after due and sufficient notice, good cause having
been Shown and no adverse interest being represented, it is hereby

ORDERED, that the Motion is granted, and Debtor may enter into the Loan Modit`ication
With Caliber Home Loan attached as Exhibit A hereto; it is further
l ORDERED, that the Chapter 13 Trustee Will release the fund in the amount of $12,814.44
($2,135.74 x 6 months) to cover the mortgage payment beginning lone 2018 through November

2018 under the modification agreement

DATED:

 

HONORABLE ELIZABETH S. STONG,
U.S. BANKRUPTCY .iUDGE

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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

_____________________________________________________ X
lN RE: Chapter 13
Case No. l.'7-43007-ESS
ANGELA COVE
AFFIRMA'I`ION OF SERVICE

Debtor(s)
_____________________________________________________ X
State of New York )

) ss.:
County of Queens )

The undersigned, an attorney duly licensed to the practice of law in the State of New York, under
the penalty of perjury aft`irins:

On October 22, 2018, l served a Notice of Presentrnent to approve a loan modification agreement
to the herein listed parties at the address(es) designate for that purpose, by mailing same in a
properly sealed envelope With postage prepaid thereon, in an official depository of the United
States Postal Service Within the State of New York to the following:

TO: Ofiice of the United States Trustee
US Federal Off`roe Building

201 Varick Street, Suite 1006

New York, NY 100}4

Marianne DeRosa

Sta.nding Chapter 13 Trustee
125 Jericho Tpke

Suite 105

Jericho, NY 11753

Cohn & Roth, LLC

Al!r)r‘neysfor Caliber Hc)rn'e Loan
100 East Old Country Road
Mineola, New York l 1501

Amex
Po Box 297871
Fort Lauderdale, FL 33 329

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Bank of Anlerica
Ne4~105-03-14

Po BOX 26012
Greensboro, NC 27410

Citibank

Citicorp Cr Srvs/Centralized Bankruptcy
Po Box 790040

S Louis, MO 63129

Dept Of Ed/Navient
Attn: Ciairns Dept

P.O. Box 9635

Will<es Barr, PA 18773

Discover Financial
Po BoX 3025
New Aibany, OH 43054

FCI Lender Services INC
P.O Box 27370
Anaheim, CA 92809

HSBC Bank
P.O. Box 2013
Buffalo, NY 14240

Lending Club Corp

71 Stevenson St

Suite 300

San Francisco, CA 94105

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/s/ Edward J. Waters, Esq.

 

Edward J . Waters, Esq.
Aflor~neysfor the Debl!'or
3124 Avalon Drive West
New Cannan, CT 06849
Tei. 914~686-4300

